                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION                                  Motion GRANTED.


UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )          NO. 3:14-00101
                                                 )          Judge Trauger
BRYAN PUCKETT, ET AL                             )
                                                 )


             MOTION OF THE UNITED STATES TO AMEND INDICTMENT

       Comes now the United States of America, by and through the United States Attorney for

the Middle District of Tennessee, and respectfully moves the Court to amend the indictment

(Docket Entry # 1) in the following respects:

       1. to correct the spelling of the word “Tatnail” to the word “Tattnall” such that the

            property address reads “129 Tattnall Court, Hendersonville, Tennessee” in the table at

            paragraph 9 of Count One and in the table at paragraph 3 regarding Count Four;

       2. to strike the word “Drive” from the words “101 Valley Creek Court Drive” such that

            the property address reads “101 Valley Creek Court, Franklin, Tennessee” in the table

            at paragraph 9 of Count One;

       3. to replace the number “5332” and the word “Drive” with the number “5232” and

            word “Road” such that the property address reads “5232 Williamsburg Road,

            Brentwood, Tennessee” in the table at paragraph 9 of Count One and in the table at

            paragraph 3 regarding Count Five; and

       4. to replace the word “Home” with the word “Broker’s” such that the lender name

            reads “American Broker’s Conduit” in the table at paragraph 9 of Count One

            regarding the loan closing for borrower RS on or about May 3, 2007.




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